Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 1 of 17 Page ID #:402




   1
   2
   3
   4
   5
   6
   7
   8
   9
  10                        UNITED STATES DISTRICT COURT
  11                       CENTRAL DISTRICT OF CALIFORNIA
  12                                SOUTHERN DIVISION
  13
  14 MEGAN SCHMITT, DEANA                         Case No. 8:17-cv-01397-JVS-JDE
     REILLY, CAROL ORLOWSKY, and
  15
     STEPHANIE MILLER BRUN,                       STIPULATED PROTECTIVE
  16 individually and on behalf of                ORDER
     themselves and all others similarly
  17
     situated,
  18                                              Hon. James V. Selna
                  Plaintiffs,                     Santa Ana, Courtroom 10C
  19
  20        v.                                    Magistrate Judge: Hon. John D. Early
  21
       YOUNIQUE, LLC                              [Discovery Document: Referred to
  22                                              Magistrate Judge John D. Early]
  23               Defendant.

  24
  25
  26 1.     PURPOSES AND LIMITATIONS
  27        Disclosure and discovery activity in this action are likely to involve
  28 production of confidential, proprietary, or private information for which special

                                               -1-
                                                               STIPULATED PROTECTIVE ORDER
Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 2 of 17 Page ID #:403




   1 protection from public disclosure and from use for any purpose other than
   2 prosecuting this litigation may be warranted. Accordingly, the parties hereby
   3 stipulate to and petition the court to enter the following Stipulated Protective Order.
   4 The parties acknowledge that this Order does not confer blanket protections on all
   5 disclosures or responses to discovery and that the protection it affords from public
   6 disclosure and use extends only to the limited information or items that are entitled
   7 to confidential treatment under the applicable legal principles.
   8 2.      GOOD CAUSE STATEMENT
   9         This action is likely to involve trade secrets, customer and pricing lists and
  10 other valuable research, development, commercial, financial, technical and/or
  11 proprietary information for which special protection from public disclosure and from
  12 use for any purpose other than prosecution of this action is warranted. Such
  13 confidential and proprietary materials and information consist of, among other things:
  14 sales, cost, and pricing information including future sales/financial projections;
  15 confidential information relating to third parties; business/strategy information; trade
  16 secrets within the meaning of the Uniform Trade Secrets Act; non-public marketing
  17 information including future marketing plans; and ingredients list, or similar such
  18 information, pertaining to products not in dispute in this matter and/or information
  19 otherwise generally unavailable to the public, or which may be privileged or otherwise
  20 protected from disclosure under state or federal statutes, court rules, case decisions,
  21 or common law. Accordingly, to expedite the flow of information, to facilitate the
  22 prompt resolution of disputes over confidentiality of discovery materials, to
  23 adequately protect information the parties are entitled to keep confidential, to ensure
  24 that the parties are permitted reasonable necessary uses of such material in preparation
  25 for and in the conduct of trial, to address their handling at the end of the litigation,
  26 and serve the ends of justice, a protective order for such information is justified in this
  27 matter. It is the intent of the parties that information will not be designated as
  28 confidential for tactical reasons and that nothing be so designated without a good faith

                                                 -2-
                                                                 STIPULATED PROTECTIVE ORDER
Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 3 of 17 Page ID #:404




   1 belief that it has been maintained in a confidential, non-public manner, and there is
   2 good cause why it should not be part of the public record of this case.
   3 3.      ACKNOWLEDGMENT OF UNDER SEAL FILING PROCEDURE
   4         The parties further acknowledge, as set forth in Section 14.3, below, that this
   5 Stipulated Protective Order does not entitle them to file confidential information
   6 under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed
   7 and the standards that will be applied when a party seeks permission from the court
   8 to file material under seal.
   9 4.      DEFINITIONS
  10         4.1   Challenging Party: a Party or Non-Party that challenges the designation
  11 of information or items under this Order.
  12         4.2   “CONFIDENTIAL” Information or Items: information (regardless of
  13 how it is generated, stored or maintained) or tangible things that qualify for
  14 protection under Federal Rule of Civil Procedure 26(c), and as specified above in
  15 the Good Cause Statement.
  16         4.3   Counsel (without qualifier): Outside Counsel of Record and House
  17 Counsel (as well as their support staff).
  18         4.4   Designating Party: a Party or Non-Party that designates information or
  19 items that it produces in disclosures or in responses to discovery as
  20 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  21 ONLY.”
  22         4.5   Disclosure or Discovery Material: all items or information, regardless
  23 of the medium or manner in which it is generated, stored, or maintained (including,
  24 among other things, testimony, transcripts, and tangible things), that are produced or
  25 generated in disclosures or responses to discovery in this matter.
  26         4.6   Expert: a person with specialized knowledge or experience in a matter
  27 pertinent to the litigation who (1) has been retained by a Party or its counsel to serve
  28 as an expert witness or as a consultant in this action, (2) is not a current employee of

                                                 -3-
                                                                STIPULATED PROTECTIVE ORDER
Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 4 of 17 Page ID #:405




   1 a Party or of a Party’s competitor, and (3) at the time of retention, is not anticipated
   2 to become an employee of a Party or of a Party’s competitor.
   3         4.7   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
   4 Information or Items: extremely sensitive “Confidential Information or Items,”
   5 disclosure of which to another Party or Non-Party would create a substantial risk of
   6 serious harm that could not be avoided by less restrictive means, including but not
   7 limited to: sales, cost, and pricing information including future sales/financial
   8 projections; confidential information relating to third parties; business/strategy
   9 information; trade secrets within the meaning of the Uniform Trade Secrets Act;
  10 non-public marketing information including future marketing plans; and ingredients
  11 list, or similar such information, pertaining to products not in dispute in this matter.
  12         4.8   House Counsel: attorneys who are employees of a party to this action.
  13 House Counsel does not include Outside Counsel of Record or any other outside
  14 counsel.
  15         4.9   Non-Party: any natural person, partnership, corporation, association, or
  16 other legal entity not named as a Party to this action.
  17         4.10 Outside Counsel of Record: attorneys who are not employees of a Party
  18 to this action but are retained to represent or advise a Party to this action and have
  19 appeared in this action on behalf of that Party or are affiliated with a law firm which
  20 has appeared on behalf of that Party, and includes support staff.
  21         4.11 Party: any party to this action, including all of its officers, directors,
  22 employees, consultants, retained experts, and Outside Counsel of Record (and their
  23 support staffs).
  24         4.12 Producing Party: a Party or Non-Party that produces Disclosure or
  25 Discovery Material in this action.
  26         4.13 Professional Vendors: persons or entities that provide litigation support
  27 services (e.g., photocopying, videotaping, translating, preparing exhibits or
  28 demonstrations, and organizing, storing, or retrieving data in any form or medium)

                                                 -4-
                                                                 STIPULATED PROTECTIVE ORDER
Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 5 of 17 Page ID #:406




   1 and their employees and subcontractors.
   2         4.14 Protected Material: any Disclosure or Discovery Material that is
   3 designated as “CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL –
   4 ATTORNEYS’ EYES ONLY.”
   5         4.15 Receiving Party: a Party that receives Disclosure or Discovery Material
   6 from a Producing Party.
   7 5.      SCOPE
   8         The protections conferred by this Stipulation and Order cover not only
   9 Protected Material (as defined above), but also (1) any information copied or
  10 extracted from Protected Material; (2) all copies, excerpts, summaries, or
  11 compilations of Protected Material; and (3) any testimony, conversations, or
  12 presentations by Parties or their Counsel that might reveal Protected Material.
  13 However, the protections conferred by this Stipulation and Order do not cover the
  14 following information: (a) any information that is in the public domain at the time of
  15 disclosure to a Receiving Party or becomes part of the public domain after its
  16 disclosure to a Receiving Party as a result of publication not involving a violation of
  17 this Order, including becoming part of the public record through trial or otherwise;
  18 and (b) any information known to the Receiving Party prior to the disclosure or
  19 obtained by the Receiving Party after the disclosure from a source who obtained the
  20 information lawfully and under no obligation of confidentiality to the Designating
  21 Party. Any use of Protected Material at trial shall be governed by a separate
  22 agreement or order.
  23 6.      DURATION
  24         Even after final disposition of this litigation, the confidentiality obligations
  25 imposed by this Order shall remain in effect until a Designating Party agrees
  26 otherwise in writing or a court order otherwise directs. Final disposition shall be
  27 deemed to be the later of (1) dismissal of all claims and defenses in this action, with
  28 or without prejudice; and (2) final judgment herein after the completion and

                                                 -5-
                                                                  STIPULATED PROTECTIVE ORDER
Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 6 of 17 Page ID #:407




   1 exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,
   2 including the time limits for filing any motions or applications for extension of time
   3 pursuant to applicable law.
   4 7.      DESIGNATING PROTECTED MATERIAL
   5         7.1   Exercise of Restraint and Care in Designating Material for Protection.
   6 Each Party or Non-Party that designates information or items for protection under
   7 this Order must take care to limit any such designation to specific material that
   8 qualifies under the appropriate standards. To the extent it is practical to do so, the
   9 Designating Party must designate for protection only those parts of material,
  10 documents, items, or oral or written communications that qualify – so that other
  11 portions of the material, documents, items, or communications for which protection
  12 is not warranted are not swept unjustifiably within the ambit of this Order.
  13         7.2   Manner and Timing of Designations. Except as otherwise provided in
  14 this Order (see, e.g., second paragraph of section 7.2(a) below), or as otherwise
  15 stipulated or ordered, Parties should make all best efforts to clearly designate
  16 Disclosure or Discovery Material that qualifies for protection under this Order
  17 before the material is disclosed or produced. Designation in conformity with this
  18 Order requires:
  19               (a) for information in documentary form (e.g., paper or electronic
  20 documents, but excluding transcripts of depositions or other pretrial or trial
  21 proceedings), that the Producing Party affix the legend “CONFIDENTIAL” or
  22 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to each page that
  23 contains protected material. If only a portion or portions of the material on a page
  24 qualifies for protection, the Producing Party also must clearly identify the protected
  25 portion(s) (e.g., by making appropriate markings in the margins) and must specify,
  26 for each portion, the level of protection being asserted.
  27         A Party or Non-Party that makes original documents or materials available for
  28 inspection need not designate them for protection until after the inspecting Party has

                                                -6-
                                                                 STIPULATED PROTECTIVE ORDER
Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 7 of 17 Page ID #:408




   1 indicated which material it would like copied and produced. During the inspection
   2 and before the designation, all of the material made available for inspection shall be
   3 deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” After the
   4 inspecting Party has identified the documents it wants copied and produced, the
   5 Producing Party must determine which documents, or portions thereof, qualify for
   6 protection under this Order. Then, before producing the specified documents, the
   7 Producing Party must affix the appropriate legend (“CONFIDENTIAL” or
   8 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”) to each page that
   9 contains Protected Material. If only a portion or portions of the material on a page
  10 qualifies for protection, the Producing Party also must clearly identify the protected
  11 portion(s) (e.g., by making appropriate markings in the margins) and must specify,
  12 for each portion, the level of protection being asserted.
  13               (b) for testimony given in deposition or in other pretrial or trial
  14 proceedings, by: (1) a statement on the record, by counsel, at the time of such
  15 disclosure or before the conclusion of the deposition or testimony; or (2) by written
  16 notice, sent to all Parties within 30 calendar days of the deposition or other
  17 testimony, provided that only those portions of the transcript designated as
  18 CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS' EYES ONLY
  19 be treated as such. The Parties may modify this procedure for any particular
  20 deposition or other testimony, through agreement on the record at
  21         The use of a document as an exhibit at a deposition shall not in any way affect
  22 its designation as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
  23 ATTORNEYS’ EYES ONLY.”
  24         Transcripts containing Protected Material shall have an obvious legend on the
  25 title page that the transcript contains Protected Material, and the title page shall be
  26 followed by a list of all pages (including line numbers as appropriate) that have been
  27 designated as Protected Material and the level of protection being asserted by the
  28 Designating Party. The Designating Party shall inform the court reporter of these

                                                 -7-
                                                                 STIPULATED PROTECTIVE ORDER
Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 8 of 17 Page ID #:409




   1 requirements. Any transcript that is prepared before the expiration of a 21-day
   2 period for designation shall be treated during that period as if it had been designated
   3 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety unless
   4 otherwise agreed. After the expiration of that period, the transcript shall be treated
   5 only as actually designated.
   6               (c) for information produced in some form other than documentary and
   7 for any other tangible items, that the Producing Party affix in a prominent place on
   8 the exterior of the container or containers in which the information or item is stored
   9 the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
  10 EYES ONLY.” If only a portion or portions of the information or item warrant
  11 protection, the Producing Party, to the extent practicable, shall identify the protected
  12 portion(s) and specify the level of protection being asserted.
  13         7.3   Inadvertent Failures to Designate. An inadvertent failure to designate
  14 qualified information or items does not, standing alone, waive the Designating
  15 Party’s right to secure protection under this Order for such material. Upon timely
  16 correction of a designation, the Receiving Party must make best efforts to assure that
  17 the material is treated in accordance with the provisions of this Order.
  18 8.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
  19         In the event that any Party or Non-Party believes that designated information
  20 should not be so designated, or that a different designation should be employed,
  21 such Challenging Party shall notify the Designating Party in writing within a
  22 reasonable time of receiving the designated information. Counsel for the
  23 Challenging and Designating Parties then shall meet and confer in good faith
  24 concerning such disputed confidential information within ten (10) business days of
  25 receipt of the notice, or sooner if timing of the use of such confidential information
  26 so requires. If agreement is not reached, the Challenging Party may file a motion
  27 requesting that the Court order the removal of the Designating Party's designation or
  28 order a different designation. Any challenge submitted to the Court shall include a

                                                -8-
                                                                STIPULATED PROTECTIVE ORDER
Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 9 of 17 Page ID #:410




   1 joint stipulation pursuant to Local Rule 37-2. In such a proceeding, the Designating
   2 Party bears the burden of persuasion with respect to any challenged designation.
   3 The designated confidential information shall be subject to and protected by this
   4 Order under the designation assigned by the Designating Party until the Court has
   5 ruled on any such motion.
   6 9.     ACCESS TO AND USE OF PROTECTED MATERIAL
   7        9.1    Basic Principles. A Receiving Party may use Protected Material that is
   8 disclosed or produced by another Party or by a Non-Party in connection with this
   9 case only for prosecuting, defending, or attempting to settle this litigation. Such
  10 Protected Material may be disclosed only to the categories of persons and under the
  11 conditions described in this Order. When the litigation has been terminated, a
  12 Receiving Party must comply with the provisions of section 15 below (FINAL
  13 DISPOSITION).
  14        Protected Material must be stored and maintained by a Receiving Party at a
  15 location and in a secure manner1 that ensures that access is limited to the persons
  16 authorized under this Order.
  17        9.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
  18 otherwise ordered by the court or permitted in writing by the Designating Party, a
  19 Receiving Party may disclose any information or item designated
  20 “CONFIDENTIAL” only to:
  21               (a) the Receiving Party’s Outside Counsel of Record in this action, as
  22 well as employees of said Outside Counsel of Record to whom it is reasonably
  23 necessary to disclose the information for this litigation and who have signed the
  24 “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
  25 A;
  26
  27
       1
            It may be appropriate under certain circumstances to require the Receiving
  28        Party to store any electronic Protected Material in password-protected form.
                                                -9-
                                                               STIPULATED PROTECTIVE ORDER
Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 10 of 17 Page ID #:411




    1               (b) the officers, directors, and employees (including House Counsel) of
    2 the Receiving Party to whom disclosure is reasonably necessary for this litigation
    3 and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit
    4 A);
    5               (c) Experts (as defined in this Order) of the Receiving Party to whom
    6 disclosure is reasonably necessary for this litigation and who have signed the
    7 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
    8               (d) the court and its personnel;
    9               (e) court reporters and their staff;
   10               (f) professional jury or trial consultants, and Professional Vendors to
   11 whom disclosure is reasonably necessary for this litigation and who have signed the
   12 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   13               (g) during their depositions, witnesses in the action to whom disclosure
   14 is reasonably necessary and who have signed the “Acknowledgment and Agreement
   15 to Be Bound” (Exhibit A), unless otherwise agreed by the Designating Party or
   16 ordered by the court. Pages of transcribed deposition testimony or exhibits to
   17 depositions that reveal Protected Material must be separately bound by the court
   18 reporter and may not be disclosed to anyone except as permitted under this
   19 Stipulated Protective Order.
   20               (h) the author or recipient of a document containing the information or
   21 a custodian or other person who otherwise possessed or knew the information; and
   22               (i) any mediators or settlement officers and their supporting personnel,
   23 mutually agreed upon by any of the parties engaged in settlement discussions.
   24        9.3    Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   25 ONLY” Information or Items. Unless otherwise ordered by the court or permitted in
   26 writing by the Designating Party, a Receiving Party may disclose any information or
   27 item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only
   28 to:

                                                 -10-
                                                                STIPULATED PROTECTIVE ORDER
Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 11 of 17 Page ID #:412




    1               (a) the Receiving Party’s Outside Counsel of Record in this action, as
    2 well as employees of said Outside Counsel of Record to whom it is reasonably
    3 necessary to disclose the information for this litigation and who have signed the
    4 “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
    5 A;
    6               (b) House Counsel of the Receiving Party, as well as employees of the
    7 legal department to whom it is reasonably necessary to disclose the information for
    8 this litigation and who have signed the “Acknowledgment and Agreement to Be
    9 Bound” (Exhibit A);
   10               (c) Experts of the Receiving Party (1) to whom disclosure is reasonably
   11 necessary for this litigation, (2) who have signed the “Acknowledgment and
   12 Agreement to Be Bound” (Exhibit A);
   13               (d) the court and its personnel;
   14               (e) court reporters and their staff;
   15               (f) professional jury or trial consultants, and Professional Vendors to
   16 whom disclosure is reasonably necessary for this litigation and who have signed the
   17 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   18               (g) during their depositions, witnesses in the action to whom disclosure
   19 is reasonably necessary and who have signed the “Acknowledgment and Agreement
   20 to Be Bound” (Exhibit A), unless otherwise agreed by the Designating Party or
   21 ordered by the court. Pages of transcribed deposition testimony or exhibits to
   22 depositions that reveal Protected Material must be separately bound by the court
   23 reporter and may not be disclosed to anyone except as permitted under this
   24 Stipulated Protective Order.
   25               (h) the author or recipient of a document containing the information or
   26 a custodian or other person who otherwise possessed or knew the information; and
   27               (i) any mediators or settlement officers and their supporting personnel,
   28 mutually agreed upon by any of the parties engaged in settlement discussions.

                                                 -11-
                                                                STIPULATED PROTECTIVE ORDER
Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 12 of 17 Page ID #:413




    1 10.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
    2         IN OTHER LITIGATION
    3               If a Party is served with a subpoena or a court order issued in other
    4 litigation that compels disclosure of any information or items designated in this
    5 action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
    6 EYES ONLY” that Party must:
    7               (a) promptly notify in writing the Designating Party. Such notification
    8 shall include a copy of the subpoena or court order;
    9               (b) promptly notify in writing the party who caused the subpoena or
   10 order to issue in the other litigation that some or all of the material covered by the
   11 subpoena or order is subject to this Protective Order. Such notification shall include
   12 a copy of this Stipulated Protective Order; and
   13               (c) cooperate with respect to all reasonable procedures sought to be
   14 pursued by the Designating Party whose Protected Material may be affected.
   15               If the Designating Party timely seeks a protective order, the Party
   16 served with the subpoena or court order shall not produce any information
   17 designated in this action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
   18 ATTORNEYS’ EYES ONLY” before a determination by the court from which the
   19 subpoena or order issued, unless the Party has obtained the Designating Party’s
   20 permission. The Designating Party shall bear the burden and expense of seeking
   21 protection in that court of its confidential material – and nothing in these provisions
   22 should be construed as authorizing or encouraging a Receiving Party in this action
   23 to disobey a lawful directive from another court.
   24 11.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
   25         PRODUCED IN THIS LITIGATION
   26               (a)    The terms of this Order are applicable to information produced
   27 by a Non-Party in this action and designated as “CONFIDENTIAL” or “HIGHLY
   28 CONFIDENTIAL – ATTORNEYS’ EYES ONLY”. Such information produced by

                                                 -12-
                                                                 STIPULATED PROTECTIVE ORDER
Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 13 of 17 Page ID #:414




    1 Non-Parties in connection with this litigation is protected by the remedies and relief
    2 provided by this Order. Nothing in these provisions should be construed as
    3 prohibiting a Non-Party from seeking additional protections.
    4               (b)      In the event that a Party is required, by a valid discovery request,
    5 to produce a Non-Party’s confidential information in its possession, and the Party is
    6 subject to an agreement with the Non-Party not to produce the Non-Party’s
    7 confidential information, then the Party shall:
    8                     1. promptly notify in writing the Requesting Party and the Non-
    9 Party that some or all of the information requested is subject to a confidentiality
   10 agreement with a Non-Party;
   11                     2. promptly provide the Non-Party with a copy of the Stipulated
   12 Protective Order in this litigation, the relevant discovery request(s), and a
   13 reasonably specific description of the information requested; and
   14                     3. make the information requested available for inspection by the
   15 Non-Party.
   16               (c)      If the Non-Party fails to object or seek a protective order from
   17 this court within 14 days of receiving the notice and accompanying information, the
   18 Receiving Party may produce the Non-Party’s confidential information responsive
   19 to the discovery request. If the Non-Party timely seeks a protective order, the
   20 Receiving Party shall not produce any information in its possession or control that is
   21 subject to the confidentiality agreement with the Non-Party before a determination
   22 by the court. Absent a court order to the contrary, the Non-Party shall bear the
   23 burden and expense of seeking protection in this court of its Protected Material.
   24 12.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   25               If a Receiving Party learns that, by inadvertence or otherwise, it has
   26 disclosed Protected Material to any person or in any circumstance not authorized
   27 under this Stipulated Protective Order, the Receiving Party must immediately
   28 (a) notify in writing the Designating Party of the unauthorized disclosures, (b) use

                                                   -13-
                                                                   STIPULATED PROTECTIVE ORDER
Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 14 of 17 Page ID #:415




    1 its best efforts to retrieve all unauthorized copies of the Protected Material,
    2 (c) inform the person or persons to whom unauthorized disclosures were made of all
    3 the terms of this Order, and (d) request such person or persons to execute the
    4 “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
    5 A.
    6 13.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
    7         PROTECTED MATERIAL
    8               When a Producing Party gives notice to Receiving Parties that certain
    9 inadvertently produced material is subject to a claim of privilege or other protection,
   10 the Receiving Party shall employ reasonable efforts to ensure that all inadvertently
   11 disclosed information is subsequently treated as required pursuant to this Order and
   12 Federal Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to
   13 modify whatever procedure may be established in an e-discovery order that provides
   14 for production without prior privilege review. This provision is not intended to
   15 modify Federal Rule of Evidence 502(b).
   16 14.     MISCELLANEOUS
   17         14.1 Right to Further Relief. Nothing in this Order abridges the right of any
   18 person to seek its modification by the court in the future.
   19         14.2 Right to Assert Other Objections. By stipulating to the entry of this
   20 Protective Order no Party waives any right it otherwise would have to object to
   21 disclosing or producing any information or item on any ground not addressed in this
   22 Stipulated Protective Order. Similarly, no Party waives any right to object on any
   23 ground to use in evidence of any of the material covered by this Protective Order.
   24         14.3 Filing Protected Material. Without written permission from the
   25 Designating Party or a court order secured after appropriate notice to all interested
   26 persons, a Party may not file in the public record in this action any Protected
   27 Material. A Party that seeks to file under seal any Protected Material must comply
   28 with Civil Local Rule 79-5. Protected Material may only be filed under seal

                                                 -14-
                                                                 STIPULATED PROTECTIVE ORDER
Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 15 of 17 Page ID #:416




    1 pursuant to a court order authorizing the sealing of the specific Protected Material at
    2 issue. Pursuant to Civil Local Rule 79-5, a sealing order will issue only upon a
    3 request establishing that the Protected Material at issue is privileged, protectable as
    4 a trade secret, or otherwise entitled to protection under the law. If a Receiving
    5 Party's request to file Protected Material under seal pursuant to Civil Local Rule 79-
    6 5(d-e) is denied by the court, then the Receiving Party may file the Protected
    7 Material in the public record pursuant to Civil Local Rule 79-5(e)(2) unless
    8 otherwise instructed by the court.
    9 15.     FINAL DISPOSITION
   10               Within 60 days after the final disposition of this action, as defined in
   11 paragraph 6, each Receiving Party must return all Protected Material to the
   12 Producing Party or destroy such material. As used in this subdivision, “all Protected
   13 Material” includes all copies, abstracts, compilations, summaries, and any other
   14 format reproducing or capturing any of the Protected Material. Whether the
   15 Protected Material is returned or destroyed, the Receiving Party must submit a
   16 written certification to the Producing Party (and, if not the same person or entity, to
   17 the Designating Party) by the 60-day deadline that (1) identifies (by category, where
   18 appropriate) all the Protected Material that was returned or destroyed and (2) affirms
   19 that the Receiving Party has not retained any copies, abstracts, compilations,
   20 summaries or any other format reproducing or capturing any of the Protected
   21 Material. Notwithstanding this provision, Counsel are entitled to retain an archival
   22 copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal
   23 memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
   24 work product, and consultant and expert work product, even if such materials
   25 contain Protected Material. Any such archival copies that contain or constitute
   26 Protected Material remain subject to this Protective Order as set forth in Section 6
   27 (DURATION).
   28         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

                                                -15-
                                                                 STIPULATED PROTECTIVE ORDER
Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 16 of 17 Page ID #:417




    1   Dated: March 8, 2018                 SHEPPARD, MULLIN, RICHTER &
                                             HAMPTON, LLP
    2
    3                                        By: /s/ Jonathan D. Moss
                                                 Sascha Henry, Esq.
    4                                            Jonathan D. Moss, Esq.
                                                 Attorneys for Defendant Younique, LLC
    5
    6   Dated: March 8, 2018                 THE SULTZER LAW GROUP P.C.
    7                                        By: /s/ Adam Gonnelli
                                                 Jason P. Sultzer, Esq.
    8                                            Joseph Lipari, Esq.
                                                 Adam Gonnelli, Esq.
    9                                            Jeremy Francis, Esq.
                                                 Attorneys for Plaintiffs Megan Schmitt,
   10                                            Deana Reilly, Carol Orlowsky and
                                                 Stephanie Miller Brun
   11
   12                                    ATTESTATION
   13               Pursuant to L.R. 5-4.3.4, I hereby attest that all signatories listed above,
   14 and on whose behalf this filing is submitted, concur in the filing’s content and have
   15 authorized the filing.
   16               Executed this 8th day of March 2018 at Los Angeles, California.
   17
   18
                                             /s/ Jonathan D. Moss
   19
                                                         JONATHAN D. MOSS
   20
   21
        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
   22
   23
        DATED: March 09, 2018
   24
   25
   26                                          _________________________________
                                               JOHN D. EARLY
   27
                                               United States Magistrate Judge
   28

                                                 -16-
                                                                 STIPULATED PROTECTIVE ORDER
Case 8:17-cv-01397-JVS-JDE Document 64 Filed 03/09/18 Page 17 of 17 Page ID #:418




    1                                        EXHIBIT A
    2               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3               I, _____________________________ [full name], of
    4 ___________________________________ [full address], declare under penalty of
    5 perjury that I have read in its entirety and understand the Stipulated Protective Order
    6 that was issued by the United States District Court for the Central District of
    7 California on [date] in the case of Megan Schmitt et al. v. Younique, LLC, Case No.
    8 8:17-cv-01397-JVS-JDE. I agree to comply with and to be bound by all the terms of
    9 this Stipulated Protective Order and I understand and acknowledge that failure to so
   10 comply could expose me to sanctions and punishment in the nature of contempt. I
   11 solemnly promise that I will not disclose in any manner any information or item that
   12 is subject to this Stipulated Protective Order to any person or entity except in strict
   13 compliance with the provisions of this Order.
   14               I further agree to submit to the jurisdiction of the United States District
   15 Court for the Central District of California for the purpose of enforcing the terms of
   16 this Stipulated Protective Order, even if such enforcement proceedings occur after
   17 termination of this action.
   18               I hereby appoint __________________________ [full name] of
   19 _______________________________________ [full address and telephone
   20 number] as my California agent for service of process in connection with this action
   21 or any proceedings related to enforcement of this Stipulated Protective Order.
   22
   23 Date: _________________________________
   24 City and State where sworn and signed: _________________________________
   25 Printed name: ______________________________
   26 Signature: __________________________________
   27
   28

                                                 -17-
                                                                 STIPULATED PROTECTIVE ORDER
